Case 2:05-cr-20194-STA Document 15 Filed 07/01/05 Page 1 of 2 Page|D 14

 

lN THE uNlTED sTATEs olsTFllcT couRT "'m\'_... _____,m
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wEsTERN olvlsloN JUL -l AH 73 55

lHUHAS lluUULD `
uNsTED sTATEs oF AMERch, O-ER%US.TN DiSTRlClOOtm

P|aintiff,

 

VS.
CR. NO. 05-20194-5

JAM ES FlOSS,

Defendant.

 

oRDER oN coNTiNuANcE AND sPEchYlNG PEaloD oF ExcLqueLE DELAY
AND S_E_TM§

 

This cause came on for a report date on June 23, 2005. At that time, counsel for
the defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Monday, August 29, 2005l at 9:30 a.m., in Courtroom 1 11th F|oor

 

of the Federal Building, Memphis, TN.
The period from June 23, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a speedy tria|.

 

lT ls so oFtDEaED this 3§\ day of une, 2005.

 

 

MEL BREEN \
T sTATEs olsTFucT JuDGE

This document entered on the docketsheet in compliance /©
with sum ss and/or 3245) Fech on ” |‘0

   

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Honorable J. Breen
US DISTRICT COURT

